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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,      )               CR. NO. 07-00108-06 DAE
                               )
          Plaintiff,           )
                               )
     vs.                       )
                               )
CHRISTOPHER J. PAAU,      (06) )
                               )
          Defendant.           )
_____________________________ )

   REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

             The defendant, by consent, has appeared before me pursuant to Rule

11, Fed.R.Crim.P., and has entered a plea of guilty to Counts 1 through 4 of the

Indictment. After examining the defendant under oath, I have determined that the

defendant is fully competent and capable of entering an informed plea, that the

guilty plea was intelligently, knowingly and voluntarily made, and that the offenses

charged are supported by an independent basis in fact establishing each of the

essential elements of such offenses. I have further determined that the defendant

intelligently, knowingly, and voluntarily waived the right to appeal or collaterally

attack the sentence except as provided in the plea agreement. I therefore

recommend that the plea of guilty be accepted and that the defendant be adjudged

guilty and have sentence imposed accordingly.
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             IT IS SO RECOMMENDED.



                                         /s/ Barry M. Kurren
                                         United States Magistrate Judge
                                          Dated: May 4, 2007




                                       NOTICE
Failure to file written objections to this Report and Recommendation within
ten (10) days from the date of its service shall bar an aggrieved party from
attacking such Report and Recommendation before the assigned United States
District Judge. 28 U.S.C. § 636(b)(1)(B).




UNITED STATES OF AMERICA V. CHRISTOPHER J. PAAU; CR. NO. 07-00108-06 DAE; REPORT AND
RECOMMENDATION CONCERNING PLEA OF GUILTY




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